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                      UNITED STATES DISTRICT COURT
                  IN THE EASTERN DISTRICT OF MICHIGAN
                           NORTHERN DIVISION

WAYNE ADER,
   Plaintiff,                                       Case No. 1:16-cv-13962

v.                                                  Hon. Thomas L. Ludington
                                                    Mag. J.: Patricia T. Morris
CADILLAC ACCOUNTS
RECEIVABLE MANAGEMENT, INC.,
     Defendant.
__________________________________________________________________

     STIPULATION TO DISMISS CASE AGAINST DEFENDANT
 CADILLAC ACCOUNTS RECEIVABLE MANAGEMENT, INC., ONLY,
       WITH PREJUDICE AND WITHOUT FEES OR COSTS

      The parties, as evidenced by the signatures of their respective counsel below,

stipulate to the dismissal of Plaintiff’s claims against Defendant Cadillac Accounts

Receivable Management Inc., only, with prejudice and without attorney’s fees or

costs to either party.

 /s/ Gary D. Nitzkin    _                     /s/ Charity A. Olson w/ consent
Gary D. Nitzkin (P41155)                     Charity A. Olson (P51997)
Attorney for Plaintiff                       Attorney for Defendant
22142 West Nine Mile Road                    2723 S. State St. Ste. 150
Southfield, Michigan 48034                   Ann Arbor, MI, 48104
(248) 353-2882                               (734) 222-5179
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                     UNITED STATES DISTRICT COURT
                 IN THE EASTERN DISTRICT OF MICHIGAN
                          NORTHERN DIVISION

WAYNE ADER,
   Plaintiff,                                          Case No. 1:16-cv-13962

v.                                                     Hon. Thomas L. Ludington
                                                       Mag. J.: Patricia T. Morris
CADILLAC ACCOUNTS
RECEIVABLE MANAGEMENT, INC.,
     Defendant.
__________________________________________________________________

              ORDER OF DISMISSAL WITH PREJUDICE
          AND WITHOUT FEES OR COSTS AS TO DEFENDANT
     CADILLAC ACCOUNTS RECEIVABLE MANAGEMENT, INC., ONLY

       The Court, having reviewed the parties’ stipulation, and finding good cause

shown;

       IT IS HEREBY ORDERED that the within action against Defendant

Cadillac Accounts Receivable Management, Inc., only, is DISMISSED with

prejudice and without fees or costs to either party.




       Dated: June 7, 2018                             s/Thomas L. Ludington
                                                       THOMAS L. LUDINGTON
                                                       United States District Judge
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                                           PROOF OF SERVICE

                  The undersigned certifies that a copy of the foregoing order was served
                  upon each attorney or party of record herein by electronic means or first
                  class U.S. mail on June 7, 2018.

                                                    s/Kelly Winslow
                                                    KELLY WINSLOW, Case Manager
